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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

          Defendants.




                        PLAINTIFFS’ MEMORANDUM IN SUPPORT OF COX’S
                                 MOTION TO FILE UNDER SEAL

             Plaintiffs submit this memorandum in support of Cox’s motion to seal (ECF No. 152),

     submitted with its May 16, 2019 Reply Memorandum in Support of Their Motion for Leave to

     take Additional Third-Party Depositions (ECF No. 153) (the “Reply”) and supporting Declaration

     of Diana Hughes Leiden (the “Leiden Declaration”) (ECF No. 153-1). Cox’s motion requests that

     the Court seal Exhibit 3 to the Leiden Declaration, as well as the portions of the Reply and the

     Leiden Declaration that cite to Exhibit 3. The sealed Exhibit and references thereto contain

     information that has been designated as “Highly Confidential – Attorneys’ Eyes Only” under the

     Stipulated Protective Order in this case (ECF No. 58) (the “Protective Order”) by the Parties and

     third parties.

             Exhibit 3 and the sealed references thereto contain expert opinions based on confidential

     proprietary information, concerning Plaintiffs’ and third parties’ technical data and information,

     commercially sensitive competitive information, and source code. In particular, Exhibit 3 and the

     sealed references discuss the MarkMonitor source code – which MarkMonitor made available for

     Cox’s inspection reluctantly, and with the highest protective designation afforded under the
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  Stipulated Protective Order – i.e., “Highly Confidential – Source Code.” MarkMonitor has

  represented that if information regarding its source code is compromised, it could allow

  competitors to unfairly compete with MarkMonitor or enable use of related trade secrets and

  proprietary information for illegal or unlawful purposes. Cox Communications, Inc. et al. v.

  MarkMonitor, Inc., 3:19-mc-80050 (N.D. Cal.), ECF No. 12. Recognizing the highly proprietary

  nature of that source code and associated functions, Plaintiffs have likewise designated certain

  information regarding MarkMonitor’s technical data or information as “Highly Confidential –

  Attorneys’ Eyes Only” under the Protective Order. The proposed sealed information impugns the

  functioning of confidential, proprietary systems of non-parties in ways that Plaintiffs dispute and

  intend to challenge.   Public filing of the proposed sealed exhibit could cause unnecessary

  competitive harm to those non-parties.

         Based on the foregoing, Plaintiffs request that the Court grant Cox’s motion to seal.


Dated: May 22, 2019                                   Respectfully submitted,

                                                      /s/ Scott A. Zebrak

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